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          IN THE UNITED STATES DISTRICT COURT FOR THE
                 WESTERN DISTRICT OF OKLAHOMA

GLENN ANDERSON, et al.,                   )
                                          )
      Plaintiffs,                         )
                                          )
vs.                                       )   Case No. CIV-05-0825-F
                                          )
EDWARD L. EVANS, in his capacity          )
as Interim Director of Oklahoma           )
Department of Corrections, et al.,        )
                                          )
      Defendants.                         )

                                      ORDER
      This action is brought by plaintiffs Glenn Anderson and Charles Taylor, state
prisoners who have sued under 42 U.S.C. § 1983. The named defendants have moved
for dismissal. (Doc. nos. 26, 28.) On December 20, 2005, Magistrate Judge Robert
E. Bacharach filed his Report and Recommendation, recommending that the court
overrule the motions to dismiss. (Report at doc. no. 43.) The Report further advised
that the parties can object to the Report, that any such objections must be filed by
January 10, 2006, and that failure to timely object would waive the right to appellate
review of the recommended ruling. No objection has been filed, and no party has
requested an extension of time within which to file an objection.
      With no objection having been filed, and having reviewed the Report and
Recommendation, the record, and the relevant arguments and authorities, the court
hereby AFFIRMS, ACCEPTS, and ADOPTS the Report and Recommendation of
the Magistrate Judge in its entirety. Accordingly, defendants’ motions to dismiss are
DENIED.
      This matter is not re-referred to the magistrate judge.
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       Defendants SHALL file their Answer to the Complaint on or before February
1, 2006.
       Dated this 11th day of January, 2006.




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